            Case 1:22-cr-00064-RBW Document 81-1 Filed 04/26/23 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
          v.                        :                           Case 1:22-cr-00064-RBW
                                    :
LLOYD CASIMIRO CRUZ, JR.            :
                                    :
           Defendant.               :
_____________________________________

        SWORN DECLARATION OF ATTORNEY ROGER ROOTS IN SUPPORT OF
                 LLOYD CRUZ’S SENTENCING MEMORANDUM


       I, the undersigned, Roger Roots, hereby declare under oath and penalty of perjury, after

having been warned that I must tell the truth, and that should I not do so I will be liable to the

penalties set out by law, hereby state in writing as follows:

       1.      My name is Roger Roots.

       2.      I am legally able to make this affidavit because I am over the age of 18 years old and

legally competent in every way to swear to these facts.

       3.      I make this affidavit from within the territory of the United States of America.

       4.      I am an attorney with the law firm of John Pierce Law (JPL) which represents the

Defendant Lloyd Cruz.

       5.      I hereby declare under oath that Lloyd Cruz stipulated to the factual bases of the

charges under Counts I and II.

       6.      Therefore, there is no substantive difference between Lloyd Cruz’s acceptance of

responsibility between pleading guilty traditionally or stipulating to all of the facts and waiving his




                                                    1
              Case 1:22-cr-00064-RBW Document 81-1 Filed 04/26/23 Page 2 of 3




right to trial by jury.

        7.       Lloyd Cruz’s sentencing guideline factor of acceptance of responsibility is no less by

stipulating to all operative facts as opposed to a guilty plea.

        8.       In fact, the bench trial on stipulated facts without witnesses or other evidence took less

time and was less of a burden on the Court than the usual extensive guilty plea colloquy and

documentation.

        9.       The prosecution and Cruz negotiated the contents and wording of the stipulations.

        10.      The prosecution could have requested any additional points or a change of wording if

prosecutors felt that Cruz’s stipulations were not enough or not fully effective.

        11.      In fact, the document upon which the Court held a bench trial was labeled a

“Statement of Offense” because it was first written for a proposed plea deal and the heading was not

updated to reflect that it had become a document of stipulations.

        12.      Lloyd Cruz used the process of trial on stipulated facts for purely technical and

procedural reasons related to appeal of an important constitutional guarantee tangential to and

unrelated to Cruz accepting responsibility for what he did.

        13.      Acceptance of responsibility does not of course meaning accepting responsibility for

what other people did or what the Defendant actually did not in fact do.

        I declare under penalty of perjury under the laws of the District of Columbia that the

        foregoing is true and correct to the best of my knowledge and belief.


Dated: April 26, 2023                           s/s Roger Roots
                                                Roger Roots Esq
                                                John Pierce Law Firm
                                                21550 Oxnard Street
                                                3rd Floor, PMB #172
                                                Woodland Hills, CA 91367


                                                     2
Case 1:22-cr-00064-RBW Document 81-1 Filed 04/26/23 Page 3 of 3




                          Tel: (213) 400-0725
                          Email: jpierce@johnpiercelaw.com




                              3
